                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




KILMAR ARMANDO ABREGO
GARCIA, et al.


Petitioner,
                                                    Civil Action No. 8:25-cv-00951-PX
v.
KRISTI NOEM, Secretary of the
                                                    Declaration Of Michael G. Kozak
Department of Homeland Security, et al.,


Respondents.


                        DECLARATION OF MICHAEL G. KOZAK


I, Michael G. Kozak, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.      I am Senior Bureau Official in the Bureau of Western Hemisphere Affairs, United

States Department of State. As Senior Bureau Official, I am a member of the Senior Executive

Service responsible for, among other things, coordination of the conduct of our diplomatic

activities in the countries of the Western Hemisphere. Before that, I was Senior Coordinator for

Afghan Refugees in the Bureau of Population, Refugees and Migration of the United States

Department of State and have held various other roles in the Department of State since 1971.

       2.      I am aware that the instant lawsuit has been filed seeking the return of Kilmar

Armando Abrego Garcia to the United States from El Salvador. I provide this declaration based on

my personal knowledge, reasonable inquiry, and information obtained from other State

Department employees.
       3.      It is my understanding based on official reporting from our Embassy in San

Salvador that Abrego Garcia is currently being held in the Terrorism Confinement Center in El

Salvador. He is alive and secure in that facility. He is detained pursuant to the sovereign, domestic

authority of El Salvador.



I declare under penalty of perjury that the foregoing is true and correct.


Executed this 12th day of April 2025.




                                              Michael G. Kozak
                                              Senior Bureau Official
